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 JS 44C/SDNY                                                                    CIVIL COVER SHEET
 REV. 06/01/17
                           The JS-44 civil cover she et and the information contained herein neither replace nor supplement the fil ing and service of pleadings or
                           other papers as required by law , except as provided by local rules of court. This fonm, app roved by the Judicial Conference of the
                           United States in September 1974 , is required for use of the Clerk of Cou rt for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                   DEFENDANTS
Benedict Caiola                                                                              Lockey Maisonneuve, Melisa Tropeano, and The MTL Communications Group
                                                                                             LLC

ATIORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                           A TIORNEYS (IF KNOWN)
MISHCON DE REYA NEW YORK LLP, 156 Fifth Avenue, Suite 904, New
York, NY 10010, (2 12) 6 12-3270


CAUSE OF ACTION (CITE TH E U.S. CIVI L STA TUTE UNDER WHICH YOU ARE FILING AND INRITE A BRIEF STATEMENT OF CAUS~
                             (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

copyright infringement works of visual art, copy right infringement photographs, copyright infringement literary work, breach of contract, breac
                                                                                                                                                                                           D
                                                                                                                                                      Judge Previously Assigned
Has this action, case , or proceeding, or o ne essentially the same been previously filed in S ONY at any time? No IZJYes                       0
If yes, was this case Vol.       0   lnvol.   0   Dismissed. No     0     Yes   0     If yes, give da t e - - - - - - - - - - & Case No. - - - - - - - --

Is THIS AN INTERNATIONAL ARBITRATION CASE!               No     0        Yes    0
(PLACE AN {x] IN ONE BOX ONL 'r?                                        NATURE OF SUIT
                                  TORTS                                                                                      ACTIONS UNDER STATUTES



CONTRACT                          PERSONAL INJURY               PERSONAL INJURY              FORFEITURE/PENALTY              BANKRUPTCY                      OTHER STATUTES
                                                                [ I 367 HEALTHCAREI
                                                                                                                                                             [ ] 375 FALSE CLAIMS
I   J 110       INSURANCE       I I 310 AIRPLANE                PHARMACEUTICAL PERSONAL [ 1625 DRUG RELATED                  [ ] 422 APPEAL
I   J 120       MARINE          I I 315AIRPLANE PRODUCT         INJURY/PRODUCT LIABI LITY SEIZURE OF PROPERTY                         28 usc 158             [ ]376 QUI TAM
I   J 130       MILLER ACT                 LIABILITY
                                                                I l 365 P~~~~~~~ ~~;~~iTY        21 usc aa1
                                                                                                                             [ J 423 WITHDRAWAL              [ ] 400 STATE
I   J 140       NEGOTIABLE      I I 320 ASSAULT, LIBEL &                                                                              28 usc 157                      REAPPORTIONMENT
                INSTRUMENT                SLANDER               I ] 388 ASBESTOS PERSONAL I ] 690 OTHER                                                      [ J410 ANTITRUST
1 J 150         RECOVERY OF     I ] 330 FEDERAL                         INJURY PRODUCT                                                                       [ J 430 BANKS & BANKING
                OVERPAY MENT &            EMPLOYERS'                    LIABILITY             PROPERTY RIGHTS                                                [ J 450 COMMERCE
                ENFORCEMENT               LIABILITY                                                                                                          I ] 460 DEPORTATION
                OF JUDGMENT     I I 340 MARINE        .         PERSONAL PROPERTY             [)d 820 COPYRIGHTS                                             [ ] 470 RAC KETEER INFLU-
[ J 151         MEDICARE ACT    I I 34 5 MARI NE PRODUCT                                      I ] 830 PATENT                                                          ENCED & CORRUPT
I J 152         RECOVERY OF               LIABILITY             [ J 370 OTHER FRAUD           [ ] 835 PATENT-ABB REVIATED NEW DRUG APP LICATION                       ORGANIZATION ACT
                DEFAULTED       I I 350 MOTOR VEHICLE           I ] 371 TRUTH IN LENDING                                                                              (RICO)
                STUDENT LOANS I I 355 MOTOR VEHICLE                                           [ J 840 TRADEMARK                                              [ ] 480 CONSUMER CREDIT
                (EXCL VETERANS)           PRODUCT LIABILITY                                                                  SOCIAL SEC URITY                [ ] 490 CABLE/SATELLITE TV
I I 153        RECOVERY OF      [ I 360 OTHER PERSONAL
                OVERPAYMENT               INJURY                [ I 380 OTHER PERSONAL       LABOR                           [ ] 861 HIA (1395ff)            I ] 850 SECURITIES/
                OF VETERAN'S    [ I 362 PERSONAL INJURY -               PROPERTY DAMAGE                                      [ I 862 BLACK LUNG (923)                  COMMODITIES/
                B ENEFITS                MED MALPRACTICE        [ I 385 PROPERTY DAMAGE      [ ] 71 0 FAI R LABOR            [ I 863 DIWCIDIWW (405(g))                EXCHANGE
I I 160         STOCKHOLDERS                                            PRODUCT LIABILITY              STANDARDS ACT         [ J 864 SSID TITLE XVI
                SUITS                                                                        [ J 720 LABORIMGMT              [ ] 865 RSI (405(g))
bd 190          OTHER                                           PRISONER PETITIONS                     RELATIONS                                             [ I 890 OTHER STATUTORY
                CONTRACT                                        I I 463 ALIEN DETAINEE       I ] 740 RAILWAY LABOR ACT                                                  ACTIONS
I I 195         CONTRACT                                        [ I 510 MOTIONS TO           [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS               [ I 891   AGRICULTURAL ACTS
               PRODUCT          ACTIONS UNDER STATUTES                   VACATE SENTENCE     LEAVE ACT (FMLA)
               LIABILITY                                                 28 usc 2255                                      [ ] 870 TAXES (U.S. Platntiff or
I ] 196     FRANCHISE           CIVIL RIGHTS                    [ I 530 HABEAS CORPUS        [ ]790 OTHER LABOR                    Defendant)                [ ] 893 ENVIRONMENTAL
                                                                I ] 535 DEATH PENALTY                 LITIGATION          [ J 8711RS-THIRD PARTY                      MATTERS
                                                                [ J 540 MANDAMUS & OTHER     [ J 791 EMPL RET INC                  26 usc 7609               [ ] 895 FREEDOM OF
                                 [ I 440   OTHER CIVIL RIGHTS
                                                                                                      SECURITY ACT (ERISA)                                            INFORMATION ACT
                                           (Non-Prisoner)
REAL PROPERTY                                                                                                                                                [] 896ARBITRATION
                                 [ I 441 VOTING                                              IMMIGRATION
                                                                                                                                                             [ I 899 ADMI NISTRATIVE
I I 210         LAND             [ I 442 EMPLOYMENT             PRISONER CIVIL RIGHTS
                                 I ] 443 HOUSING/                                                                                                               PROCEDURE ACT/REVIEW OR
                CONDEMNATION                                                                 I ] 462 NATURALIZAT ION
I I 220         FORECLOSURE                ACCOMMODATIONS [ ] 550 CIVIL RIGHTS                                                                                  APPEAL OF AGENCY DECISION
                                                                                                   APPLICATION
I I 230         RENT LEASE &      [ ] 445 AMERICANS VVITH      [ ] 555 PRISON CONDITION   [ J 465 OTHER IMMIGRATION                                            [ J 950 CONSTITUTIONALITY OF
                EJECTMENT                  DISABI LI TIES -    [ I 560 CIVIL DETAINEE              ACTIONS                                                     STATE STATUTES
[ J 240         TORTS TO LAND              EMPLOYMENT             CONDITION S OF CONFINEMENT
[ ] 245         TORT PRODUCT      I I 446 AMERICANS WITH
                LIABILITY                  DISABILITIES -OTHER
I I 290         ALL OTHER          I I 448 EDUCATION
                REAL PROPERTY




            Check if demanded in complaint:
                                                                         DO YOU CLAIM THIS CASE IS RELATED TO A CIV IL CASE NOW PENDING IN S.D.N.Y.
                                                                         AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
                                                                         iF SO, STATE:

DEMAND$._ __ __ OTHER _ _ _ __ JUDGE _ _ _ _ _ _ _ _ _ _ _ _ _ DOCKETNUMBER._ _ _ _ __

Check YES only if demanded in complaint
JURY DEMAND:              lRl YES    LNO                                 NOTE: You must also submit at the time of filing the S tatement of Relatedness form (Form IH-32).
                        Case 1:18-cv-11646-NRB Document 2 Filed 12/13/18 Page 2 of 2

(PLACE AN x IN ONE BOX ONL Y,l                                                ORIGIN
[BJ 1   Original       D 2 Removed from               03 Remanded D 4 Reinstated or         D   5 Transferred from 0 6          Multidistrict      D 7 Appeal to District
                                                                                                    (Specify District)          Litigation                Judge from
        Proceeding           State Court                   from              Reopened
                                                                                                                                (Transferred)             Magistrate Judge
                                                           Appellate
                       D    a.   all parties represented   Court
                                                                                                                         0 8 Multidistrict Litigation (Direct File)
                       D    b.   At least one party
                                 is prose.

(PLACE AN x IN ONE BOX ONL Y,l                                         BASIS OF JURISDICTION                                          IF DIVERSITY, INDICATE
0 1 U.S. PLAINTIFF 0 2             U.S. DEFENDANT          ~   3 FEDERAL QUESTION         04    DIVERSITY                             CITIZENSHIP BELOW.
                                                                (U.S. NOT A PARTY)

                                   CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
         (Place an [X] in one box for Plaintiff and one box for Defendant)

                                 PT F   DEF                                             PTF DEF                                                             PTF       DEF
CITIZEN OF THIS STATE            [ ]1   [ ]1       CITIZEN OR SUBJECT OF A              [ ]3 [ ]3         INCORPORATED and PRINCIPAL PLACE                  [ ]5      [ ]5
                                                    FOREIGN COUNTRY                                       OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE         [ ]2   [ ]2       INCORPORATED or PRINCIPAL PLACE      [ ]4 [ ]4         FOREIGN NATION                                    [ ]6      [ ]6
                                                    OF BUSINESS IN THIS STATE


PLAINTIFF($) ADDRESS(ES) AND COUNTY(IES)
Benedict Caiola- 868 HILLSIDE AVE WESTFIELD, NJ , 07090; Union County




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
Lockey Maisonneuve- 117 Cranford Ave, Cranford, NJ 07016; Union County
Melisa Tropeano- 1409 Nottingham Drive, Naples, FL 34109; Collier County
The MTL Communications Group LLC- 1409 Nottingham Drive, Naples, FL 34109; Collier County



DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWIN G DEFENDANTS:




                                                                  COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21 .



Check one:      THIS ACTION SHOULD BE ASSIGNED TO:                             0   WHITE PLAINS                          ~   MANHATTAN

DATE    12/1 3/2018                                                                             ADMITTED TO PRACTICE IN THIS DISTRICT
                         SIGNATURE OF ATTORNEY OF RECORD
                                                                                                []NO

RECEIPT#                 ~~                                                                     [)(j Y ES (DATE ADMITTED Mo.0_6_ _ Yr. 1992
                                                                                                Attorney Bar Code # RW9041


Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate J u d g e - - - - - - - - - - - - - - - - - - - - - - - - - - is so Designated .

Ruby J. Krajick, Clerk of Court by _ _ _ _ _ _ Deputy Clerk, D A T E D - - - - - - - - -

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
